Case 2:05-cr-20023-.]PI\/| Document 11 Filed 07/26/05 Page 1 of 2 Page|D 16

IN THE UNITED STATES DISTM %€§OT*‘ D'c‘

FoR THE wESTERN DISTRICT 0 T m _
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W,fi) 124 :€\!. M&h.%PHlS

Criminal No. O_S-MNH

 

UNI'I'ED S'I`ATES OF AMERICA

Plaintiff,

vQc<)~U© SLQMCQ

(GO-Day Continuance)

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STATUS AND RESETTING

 

As indicated by the Signature of counsel for the United
States, through its Assietant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(S). A follow-up report
on efforts to bring the above-referenced fugitive defendant(e)
before the Court will be made on Fridav. Seotember 23, 2005. at
10:30 a.m.

SO oRDERED this 22nd day of July, 2005.

QM‘G£Q

JO PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

   
  
 

 

 

Aesistant United States Att neX
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UNITED sT"RATEDISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20023 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

